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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FORT SMITH DIVISION

PEPPER SOURCE, LTD.                                                         PLAINTIFF

v.                                 No. 2:20-cv-2079

CHEP, a Brambles Company, et al.                                         DEFENDANTS


                                      JUDGMENT

      Pursuant to the order entered in this case on this date, IT IS ORDERED AND ADJUDGED

that Pepper Source, LTD’s complaint for declaratory judgment is DISMISSED WITHOUT

PREJUDICE.

      IT IS SO ADJUDGED this 31st day of July, 2020.


                                                       /s/P. K. Holmes, III
                                                       P.K. HOLMES, III
                                                       U.S. DISTRICT JUDGE
